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  I Katya Mireya Alvarado de Velasquez,
  My husband is Arnolvin Velasquez Umanzor. He is a good person, a good father
  and a good husband. He needs us andwe need him. Our daughters ask for then-
  father constantly. When they arrested him I was so upset but not just for myself,
  for him, and most of all for my daughters. He was an active member of our church
  and a hardworking person. He is only about work; he goes from work to home and
  home to church, this is what we would do together as a family
  I ask God for everything to turn out well for my husband because we really need
  him. We have three daughters, one nine months old, one two years old, and one
  three years old. They are so young and theyreallyneed their father.
  We need you very much Arnolvin Velasquez Umanzor.
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